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                                                                 EXHIBIT A
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------------X
 MICHAEL ALEMAN-VALDIVIA and FREDDY SANCHEZ,
 individually and on behalf of all others similarly situated,                 Civil Action No.
                                                                              1:20-cv-00421-LDH-PK
                                              Plaintiffs,

                                  -against-

 TOP DOG PLUMBING & HEATING CORP., FIRST CHOICE
 PL, INC., VERONICA AZULAI, and RON MAIMON
 AZULAI,

                                              Defendants.
 -------------------------------------------------------------------------X

                         COURT-AUTHORIZED NOTICE OF LAWSUIT

  If you worked at one of the companies known as Top Dog Plumbing & Heating Corp. or
 First Choice PL, Inc. between January 24, 2017 and the present, a collective action lawsuit
                                may affect your legal rights.

        Important: You are NOT being sued. This Notice is NOT a solicitation from a lawyer.
                                The Court authorized this Notice.

    •   Plaintiff Michael Aleman-Valdivia is a former employee of Top Dog Plumbing & Heating
        Corp., First Choice PL, Inc., Veronica Azulai, and Ron Maimon Azulai, where he worked as a
        plumber and foreman. Plaintiff, Michael Aleman-Valdivia brought this lawsuit against
        defendants Top Dog Plumbing & Heating Corp., First Choice PL, Inc., Veronica Azulai, and
        Ron Maimon Azulai (“Defendants”), on behalf of himself and all other potential, current, and
        former foremen, plumbers, laborers, backhoe operators, and drivers employed by the
        Defendants as of January 24, 2017. Plaintiff claims that Defendants did not pay their hourly
        employees all overtime wages due to them.

Defendants deny any wrongdoing and/or liability and maintain that all of their employees are paid in
compliance with the federal (the “FLSA”) and state (the “NYLL”) labor laws.

    •   THIS NOTICE AND ITS CONTENTS HAVE BEEN AUTHORIZED BY THE UNITED
        STATES DISTRICT COURT, EASTERN DISTRICT OF NEW YORK. THE COURT HAS
        TAKEN NO POSITION IN THIS CASE REGARDING THE MERITS OF THE
        PLAINTIFF'S CLAIMS OR OF THE DEFENDANTS' DEFENSES.
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              YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT
                If you choose to be included in this collective action, you will be bound by any
                ruling, settlement or judgment in this case. You may also share in any proceeds
    ASK TO BE   from a settlement or judgment if those bringing the claims are successful. If you
    INCLUDED    choose to be included you will give up any rights to separately sue the Defendants
                about the same legal claims in this lawsuit.
             By doing nothing, you will not be included in this lawsuit for the purpose of
             asserting an overtime claim under federal and state law. This means that you give
  DO NOTHING up the possibility of getting money or benefits that may come from a trial or
             settlement of the federal and state law claims in this lawsuit if those bringing the
             lawsuit are successful.

1. Why did I get this notice?

 You are getting this notice because Defendants’ records show that you may have worked as a
 foreman, plumber, laborer, backhoe operator, or driver at Top Dog Plumbing & Heating Corp. or
 First Choice PL, Inc. from January 24, 2017 to the present. Plaintiff sued the Defendants claiming
 they violated various provisions of federal and state labor laws.

2. What is a collective action and who is involved?

 In a collective action lawsuit, one or more persons can bring a lawsuit on behalf of others who
 have similar claims. The individual who brought this lawsuit is called the Plaintiff. The corporate
 entities and individuals that they have sued are called the Defendants. One Court resolves the
 issues for everyone who decides to join the case.

3. What is this collective action lawsuit about?___
 This collective action lawsuit is about whether Defendants’ compensation practice violate federal
 and state labor laws. The lawsuit alleges that Defendants violated federal and state labor laws by
 not paying Plaintiff and other employees similarly situated overtime and other wages owed to
 them. Plaintiff is seeking to recover unpaid wages, in addition to liquidated damages, attorneys’
 fees, and costs.

 Defendants deny any wrongdoing and/or liability and maintain that all of their employees were
 and continue to be paid in accordance with federal and state labor laws.
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4. How do I join this collective action lawsuit?
 To participate in this lawsuit through the Plaintiff’s attorney, you must fill out the enclosed form
 called “Consent to Join” and mail it in the enclosed, postage-paid envelope to Plaintiff’s lawyers.
 Should the enclosed envelope be lost or misplaced, the “Consent to Join” Form must be sent to:

                                     Katz Melinger PLLC
                                 280 Madison Avenue, Suite 600
                                  New York, New York 10016

                   You can also fax the “Consent to Join” form to (212) 428-6811,
          text it to (929) 515-3232 or scan and email it to Kymorales@katzmelinger.com.

 The signed “Consent to Join” form must be postmarked, texted, faxed, or e-mailed by (60 days
 from mailing of Notice). If your signed “Consent to Join” form is not postmarked, texted, faxed,
 or e-mailed by (60 days from mailing of Notice), you may not be allowed to participate in the
 federal law portion of this lawsuit.


You have a right to be represented by your own attorney, but you will be responsible for making
arrangements for payment of the fees of the attorney you select. The attorney you hire must file
with the court a “Consent to Join” form by (60 days from mailing of Notice) and must enter a
formal appearance as attorney on your behalf.

5. What happens if I join this lawsuit?
 You will be bound by any ruling, settlement, or judgment, whether favorable or unfavorable.
 If there is a favorable resolution, either by settlement or judgment, and you qualify under
 the law, you will be entitled to some portion of the recovery.
If you join this lawsuit and send your “Consent to Join” form to Katz Melinger PLLC,
you agree to have the Plaintiff and his counsel act as your representative and make
decisions on your behalf concerning the case, including approving any settlement.
Decisions made and agreements entered into by the Plaintiff and his counsel will be
binding on you if you join this lawsuit, subject only to the Court’s discretion. If you hire
your own attorney, you will be bound by decisions and agreements that your attorney
makes on behalf of this lawsuit.
If you join this lawsuit, you may be asked to give testimony and information about your
work for Top Dog Plumbing & Heating Corp., and First Choice PL, Inc. to help the Court
decide whether you are owed any money. Plaintiff’s counsel will assist you with this
process. For this reason, if you join this lawsuit, you should preserve all documents
relating to your employment currently in your possession.
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6. What happens if I do nothing at all?
 You will not be included in this lawsuit for the purpose of asserting an overtime wages claim
 under federal law. Therefore, you will not be entitled to any recovery in this case should there be
 any for those claims. The limitations period on your claims continues to run.

7. If I join, will there be any impact on my employment? ______________________________
 The law prohibits Defendants from discharging or retaliating against you because you join this
 case or have in any other way exercised your rights under the law.

8. Do I have a lawyer in this case?_________________________________________________
 Plaintiff is represented by Katz Melinger PLLC. If you join by sending your opt-in to the
 Plaintiff’s attorney, Katz Melinger PLLC will represent you on a contingency fee basis, meaning
 you will not owe any attorneys’ fees unless you are successful and win the case, or obtain a
 settlement.

9. Do the Defendants have a lawyer in this case?_____________________________________
The Defendants in this case are represented by:

                             The Law Offices of Neal Brickman, P.C.

                                 420 Lexington Avenue, Suite 2811

                                   New York, New York 10170
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------------X
 MICHAEL ALEMAN-VALDIVIA and FREDDY SANCHEZ,
 individually and on behalf of all others similarly situated,                 Civil Action No.
                                                                              1:20-cv-00421-LDH-PK
                                              Plaintiffs,

                                  -against-

 TOP DOG PLUMBING & HEATING CORP., FIRST CHOICE
 PL, INC., VERONICA AZULAI, and RON MAIMON
 AZULAI,

                                              Defendants.
 -------------------------------------------------------------------------X


 IF YOU RECEIVED THIS FORM AND WANT TO JOIN THIS LAWSUIT, PLEASE
 COMPLETE THESE TWO STEPS:

 1. COMPLETE AND SIGN THIS CONSENT TO JOIN LAWSUIT FORM; AND
 2. USE THE ENCLOSED ENVELOPE TO RETURN THIS FORM TO THE ADDRESS
    BELOW NOT LATER THAN [60 days from mailing of notice].

                                           Katz Melinger PLLC
                                      280 Madison Avenue, Suite 600
                                       New York, New York 10016

          YOU CAN ALSO FAX THE CONSENT TO JOIN FORM TO (212) 428-6811
                          OR SCAN AND EMAIL IT TO:
                          Kymorales@Katzmelinger.Com

I consent to join the collective action and authorize Katz Melinger PLLC to act on my behalf in
all matters relating to this action, including any settlement of my claims.




_______________________                                               ____________________________
     SIGNATURE                                                                PRINT NAME
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   TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
   PARA EL DISTRITO ESTE DE NUEVA YORK
   -------------------------------------------------------------------------X
   MICHAEL ALEMAN-VALDIVIA y FREDDY SANCHEZ, a
   título personal y en representación de todas las personas en una             Acción Civil N.°
   situación similar,                                                            1:20-cv-00421-LHD-PK
                                                   Demandantes,

                                     -contra-

   TOP DOG PLUMBING & HEATING CORP., FIRST CHOICE
   PL, INC., VERONICA AZULAI, y RON MAIMON AZULAI,

                                                   Demandados.
   -------------------------------------------------------------------------X

            NOTIFICACIÓN DE DEMANDA AUTORIZADA POR LA CORTE
     Si trabajó en una de las empresas conocidas como Top Dog Plumbing & Heating
   Corp. o First Choice PL, Inc. entre el 24 de enero de 2017 y el presente, una demanda
                       colectiva puede afectar sus derechos legales.

          Importante: Usted NO está siendo demandado. Este aviso NO es una solicitud de un
                                          abogado.
                             La Corte autorizó esta notificación

      •   El demandante Michael Aleman-Valdivia es un ex empleado de Top Dog Plumbing
          & Heating Corp., First Choice PL, Inc., Veronica Azulai y Ron Maimon Azulai,
          donde trabajó como plomero y capataz. El Demandante, Michael Aleman-Valdivia
          presentó esta demanda contra los demandados Top Dog Plumbing & Heating Corp.,
          First Choice PL, Inc., Veronica Azulai y Ron Maimon Azulai (“Demandados”), en
          nombre de sí mismo y de todos los demás posibles, actuales, y ex capataces,
          plomeros, obreros, operadores de excavadoras y conductores empleados por los
          Demandados desde 24 de enero de 2017. El Demandante afirma que los Demandados
          no pagaron a sus empleados pagados por hora todos los salarios de horas extras que
          se les adeudan.

  Los Demandados niegan cualquier acto indebido y/o responsabilidad y sostienen que todos
  sus empleados son remunerados en cumplimiento de las leyes laborales federales (la
  “FLSA”) y estatales (la “NYLL”).
      •   ESTA NOTIFICACIÓN Y SU CONTENIDO HAN SIDO AUTORIZADOS POR
          EL TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS, DISTRITO ESTE
          DE NUEVA YORK. LA CORTE NO HA TOMADO NINGUNA POSICIÓN EN
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        ESTE CASO RESPECTO AL FONDO DE LAS RECLAMACIONES DEL
        DEMANDANTE O DE LAS DEFENSAS DE LOS DEMANDADOS.
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            SUS DERECHOS Y OPCIONES LEGALES EN ESTA DEMANDA

                      Si usted decide ser incluido en esta acción colectiva, quedará obligado
                      por cualquier fallo, acuerdo o sentencia en este caso. Es posible que
     PEDIR SER        también pueda beneficiarse en parte de los ingresos de un acuerdo o
     INCLUIDO         sentencia si los que presentan las reclamaciones son exitosos. Si
                      decide ser incluido, renunciará al derecho a demandar por separado a
                      los Demandados por las mismas reclamaciones legales en este juicio.

    NO TOMAR          Al no hacer nada, no se le incluirá en esta demanda con el propósito de
     NINGUNA          hacer valer una reclamación de horas extras bajo las leyes federal y
      ACCIÓN          estatales. Esto significa que usted renuncia la posibilidad de obtener
                      dinero o beneficios que puedan provenir de un juicio o acuerdo de las
                      reclamaciones de las leyes federal y estatales en esta demanda si los que
                      presentan la demanda tienen éxito.



  1. ¿Por qué recibí este aviso?                                                             __

  Recibió este aviso porque los registros de los Demandados muestran que es posible que haya
  trabajado como capataz, plomero, obrero, operador de excavadoras o conductor en Top Dog
  Plumbing & Heating Corp. o First Choice PL, Inc. desde el 24 de enero de 2017 hasta el
  presente. El Demandante demandó a los Demandados alegando que violaron varias
  disposiciones de las leyes laborales federales y estatales.

  2. ¿Qué es una acción colectiva y quién está involucrado?                          ________

  En una demanda de acción colectiva, una o más personas pueden entablar una demanda en
  nombre de otros que tengan reclamaciones similares. La persona que presentó esta demanda
  se llama el Demandante. Las entidades corporativas y los individuos que han sido
  demandados se llaman los Demandados. Una Corte resuelve los asuntos para todos los que
  decidan unirse al caso.

  3. ¿De qué trata esta demanda de acción colectiva?___                                      __
   Esta demanda de acción colectiva trata sobre si la práctica de compensación de los
   Demandados viola las leyes laborales federales y estatales. La demanda alega que los
   Demandados violaron las leyes laborales federales y estatales al no pagar al Demandante y
   a otros empleados en situación similar las horas extras y otros salarios que se les debían. El
   Demandante busca recuperar los salarios no pagados, además de los daños líquidos, los
   honorarios de los abogados y los gastos.

   Los demandados niegan cualquier maldad y/o responsabilidad y mantienen que todos sus
   empleados fueron y siguen siendo pagados de acuerdo con las leyes laborales federales y
   estatales.
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   4. ¿Cómo puedo unirme a esta demanda de acción colectiva?                 ____           __
   Para participar en esta demanda a través del abogado de el Demandante, debe rellenar el
   formulario adjunto llamado "Consentimiento para participar" y enviarlo por correo en el
   sobre adjunto pre-pagado a los abogados de el Demandante. En caso de que el sobre
   adjunto se pierda o se extravíe, el formulario de "Consentimiento para participar " debe ser
   enviado a:

                                   Katz Melinger PLLC
                              280 Madison Avenue, Suite 600
                               New York, New York 10016

        Tambien puede enviar por fax el formulario de “Consentimiento para participar”
                 al (212) 428-6811, por texto al (929) 515-3232 o por correo
                         electronico a kymorales@katzmelinger.com.

   El formulario firmado de "Consentimiento para participar " debe estar matasellado, enviado
   por texto, por fax o por correo electrónico antes de (60 días a partir del envío de la
   notificación). Si su formulario de "Consentimiento para participar" firmado no esta
   matasellado, enviado por texto, por fax o por correo electrónico a más tardar el (60 días
   después de la fecha de envío de la Notificación), es posible que no se le permita participar
   en la parte de esta demanda que se rige por la ley federal.
   Usted tiene derecho a ser representado por su propio abogado, pero será responsable de hacer
   los arreglos para el pago de los honorarios del abogado que seleccione. El abogado que
   contrate debe presentar a la Corte un formulario de "Consentimiento para participar" antes
   de (60 días a partir del envío de la notificación) y debe presentarse formalmente como
   abogado en su nombre.

   5. ¿Qué pasa si me uno a esta demanda?
   Usted estará obligado por cualquier fallo, acuerdo o sentencia, favorable o desfavorable. Si
   hay una resolución favorable, ya sea por acuerdo o sentencia, y usted califica bajo la ley,
   tendrá derecho a alguna parte de la recuperación.

   Si se une a esta demanda y envía su formulario de "Consentimiento para participar" a Katz
   Melinger PLLC, usted acepta que el Demandante y su abogado actúen como su representante
   y tomen decisiones en su nombre en relación con el caso, incluyendo la aprobación de
   cualquier acuerdo. Las decisiones tomadas y los acuerdos aceptados por el Demandante y su
   abogado serán vinculantes para usted si se une a esta demanda, sujeto sólo a la discreción de
   la Corte. Si contrata a su propio abogado, estará obligado por las decisiones y acuerdos que
   su abogado tome en nombre de esta demanda.

   Si se une a esta demanda, se le puede pedir que dé testimonio e información sobre su trabajo
   para Top Dog Plumbing & Heating Corp., y First Choice PL, Inc. para ayudar a la Corte a
   decidir si se le debe dinero. El abogado del Demandante le ayudará con este proceso. Por esta
   razón, si se une a esta demanda, debe preservar todos los documentos relacionados con su
   empleo que actualmente están en su poder.
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   6. ¿Qué pasa si no hago nada?                                                             __
   No se le incluirá en esta demanda con el fin de hacer valer una reclamación de salarios por
   horas extras según la ley federal. Por lo tanto, no tendrá derecho a ninguna recuperación en
   este caso si hay alguna para esas reclamaciones. El período de limitación de sus
   reclamaciones seguira corriendo.

   7. Si me uno, ¿habrá algún impacto en mi empleo?______________________________
   La ley prohíbe a que los Demandados despidan o tomen represalias contra usted por haberse
   unido a este caso o por haber ejercido de alguna otra manera sus derechos en virtud de la ley.

   8. ¿Tengo un abogado en este caso?___________________________________________
   El Demandante está representado por Katz Melinger PLLC. Si usted se une enviando su
   opción al abogado de el Demandante, Katz Melinger PLLC lo representará en base a
   honorarios de contingencia, que significa que usted no deberá pagar ningún honorario de
   abogado a menos que tenga éxito y gane el caso, o obtenga un acuerdo.

   9. ¿ Los acusados tienen un abogado en este caso?_______________________________
   Los Demandados en este caso están representados por:

                            The Law Offices of Neal Brickman, P.C.

                               420 Lexington Avenue, Suite 2811

                                  New York, New York 10170
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    TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
    PARA EL DISTRITO ESTE DE NUEVA YORK
    -------------------------------------------------------------------------X
    MICHAEL ALEMAN-VALDIVIA y FREDDY SANCHEZ, a
    título personal y en representación de todas las personas en una             Acción Civil N.°
    situación similar,                                                           1:20-cv-00421-LDH-PK

                                                  Demandantes,

                                      -contra-

    TOP DOG PLUMBING & HEATING CORP., FIRST CHOICE
    PL, INC., VERONICA AZULAI, y RON MAIMON AZULAI,
                                                    Demandados.
    -------------------------------------------------------------------------X


   SI RECIBIÓ ESTE FORMULARIO Y QUIERE UNIRSE A ESTA DEMANDA, POR
   FAVOR COMPLETE ESTOS DOS PASOS:

   1.      COMPLETE Y FIRME ESTE FORMULARIO DE CONSENTIMIENTO PARA
           UNIRSE A LA DEMANDA; Y
   2.      USE EL SOBRE PRE-PAGADO ADJUNTO PARA DEVOLVER ESTE
           FORMULARIO A LA DIRECCIÓN QUE APARECE ABAJO NO MÁS TARDE
           DE [60 DÍAS DESDE EL ENVÍO DE LA NOTIFICACIÓN].

                                          Katz Melinger PLLC
                                     280 Madison Avenue, Suite 600
                                      New York, New York 10016

    TAMBIÉN PUEDE ENVIAR POR FAX EL FORMULARIO DE CONSENTIMIENTO
      PARA PARTICIPAR AL (212) 428-6811 O ESCANEARLO Y ENVIARLO POR
            CORREO ELECTRÓNICO A: Kymorales@Katzmelinger.Com

   Doy mi consentimiento para unirme a la acción colectiva y autorizo a Katz Melinger PLLC
   a actuar en mi nombre en todos los asuntos relacionados con esta acción, incluyendo
   cualquier acuerdo de mis reclamaciones.




   _______________________                                                _____________________
        FIRMA                                                                    NOMBRE
